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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

DUSTIN SWAFFORD,                       )
                                       )
      Plaintiff,                       )
                                       )     CIVIL ACTION
vs.                                    )
                                       )     FILE No. 1:19-cv-00183-TWT
WADA, INC.,                            )
                                       )
      Defendant.                       )

      ORDER APPROVING CONSENT DECREE AND DISMISSAL OF
                 DEFENDANT WITH PREJUDICE

      The Court, having read and reviewed the parties’ Joint Stipulation and the

Consent Decree attached to the Joint Stipulation as Exhibit “A,” and for good cause

shown, it is hereby ORDERED and ADJUDGED that the Joint Stipulation to

Approve Consent Decree and Dismiss with Prejudice is GRANTED. The Court shall

retain jurisdiction to enforce the Consent Decree. Each party shall bear their own

attorney’s fees and costs except as detailed in the parties’ Consent Decree.

      LET IT BE SO ORDERED, this 9th day of April, 2019.



                                       /s/ Thomas W. Thrash
                                       Hon. Thomas W. Thrash, Jr.
                                       Chief United States District Judge
